     Case 2:20-cv-01379-FMO-JEM Document 32 Filed 07/02/20 Page 1 of 2 Page ID #:194



1     SEYFARTH SHAW LLP
      Robert B. Milligan (SBN 217348)
2     rmilligan@seyfarth.com
      Sierra J. Chinn-Liu (SBN 322994)
3     schinnliu@seyfarth.com
      2029 Century Park East, Suite 3500
4     Los Angeles, California 90067-3021
      Telephone: (310) 277-7200
5     Facsimile: (310) 201-5219
6     Attorneys for Plaintiff
      3G PRODUCTIONS, INC.
7
8
                                  UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11
      3G PRODUCTIONS, INC., a Nevada               Case No. 2:20-cv-01379-FMO-JEM
12    corporation,
                                                    ORDER GRANTING REQUEST
13                   Plaintiff,                     [30] FOR APPOINTMENT OF
                                                    REGISTERED PROCESS SERVER
14             v.                                   TO SERVE WRIT OF EXECUTION
15    BEAUTYCON MEDIA, INC., a Delaware             [Fed. R. Civ. P. 4(c)(3), L.R. 64-2]
      corporation,
16
                     Defendant.
17                                                 Date Action Filed: February 11, 2020
18
19
20
21
22
23
24
25
26
27
28

                            REQUEST AND ORDER FOR APPOINTMENT OF REGISTERED PROCESS SERVER
      64438035v.1
     Case 2:20-cv-01379-FMO-JEM Document 32 Filed 07/02/20 Page 2 of 2 Page ID #:195



1              Pursuant to Federal Rule of Civil Procedure 4(c)(3) and Central District Local Rule
2     64-2, Plaintiff and judgment creditor 3G Productions, Inc. hereby requests that: (1) the
3     writ of execution issued on June 15, 2020 by the Clerk of the United States District Court
4     for the Central District of California in the above-referenced case, 3G Productions, Inc. v.
5     Beautycon Media, Inc., Case No. 2:20-cv-01379-FMO-JEM, may be served by a licensed
6     and duly registered private process server of All-N-One Legal Support, Inc. in lieu of the
7     United States Marshal because the United States Marshal of the Central District does not
8     levy on writs, and (2) the United States Marshal shall remain the levying officer.
9              The foregoing request having been considered by the Court and good cause
10    appearing therefor, IT IS HEREBY ORDERED as follows:
11             1.    The writ of execution issued by the Clerk of the United States District Court
12    for the Central District of California in the matter of 3G Productions, Inc. v. Beautycon
13    Media, Inc., Case No. 2:20-cv-01379-FMO-JEM, may be served by a licensed and duly
14    registered private process server of All-N-One Legal Support, Inc., in lieu of the United
15    States Marshal.
16             2.    The United States Marshal shall remain the levying officer.
17
18    DATED:         July 2, 2020                                   /s/
19                                                         Hon. Fernando M. Olguin
                                                           United States District Judge
20
21    cc: U.S. Marshal Service
22
23
24
25
26
27
28

                                                                                PROOF OF SERVICE
      64438035v.1
